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Fill in this information to identify the case:

Debtor 1          Cunningham, Harold Leroy Jr

Debtor 2                                                                                                                [ ] Check if this is an amended
(Spouse, if filing)                                                                                                          plan, and list below the
                                                                                                                             sections of the plan that
United States Bankruptcy Court for the Western District of                                                                   have been changed.
Kentucky, Louisville Division

Case Number
(If known)




Official From 113
Chapter 13 Plan                                                                                                                               12/17


Part 1:      Notices

To Debtors:            This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not
                       indicate that the option is appropriate in your circumstances or that it is permissible in your judicial district. Plans that do not
                       comply with local rules and judicial rulings may not be confirmable.

                       In the following notice to creditors, you must check each box that applies.

To Creditors:          Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.

                       You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not have an
                       attorney, you may wish to consult one.

                       If you oppose the plan’
                                             s treatment of your claim or any provision of this plan, you or your attorney must file a timely written objection to
                       confirmation. The Bankruptcy Court may confirm this plan without further notice if no objection to confirmation is filed. See Bankruptcy
                       Rule 3015 and LR Rule 3083-1(D) and (E). In addition, you must have a filed and allowed proof of claim in order to be paid under any
                       plan.

                       The following matters may be of particular importance. Debtors must check one box on each line to state whether or not the plan
                       includes each of the following items. If an item is checked as “Not Included”or if both boxes are checked, the provision will
                       be ineffective if set out later in the plan.

 1.1      A limit on the amount of a secured claim, set out in Part 3.2, which may result in a partial               [ ] Included        [X] Not included
          payment or no payment at all to the secured creditor

 1.2      Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set out                [ ] Included        [X] Not included
          in Section 3.4

 1.3      Nonstandard provisions, set out in Part 8                                                                  [X] Included        [ ] Not included

Part 2:      Plan Payments and Length of Plan

2.1 Debtor(s) will make regular payments to the trustee as follows:

       $ 150.00 per month for 60 months

       If fewer than 60 months of payments are specified, additional monthly payments will be made to the extent necessary to make the payments to creditors
       specified in this plan.

2.2 Regular payments to the trustee will be made from future income in the following manner:
    Check all that apply.
    [X] Debtor(s) will make payments pursuant to a payroll deduction order.
    [ ] Debtor(s) will make payments directly to the trustee.
    [ ] Other (specify method of payment):                       .

2.3 Income tax refunds.
    Check one.



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      [ ] Debtor(s) will retain any income tax refunds received during the plan term.
      [X] Debtor(s) will supply the trustee with a copy of each income tax return filed during the plan term within 14 days of filing the return and will turn over to
          the trustee all income tax refunds received during the plan term.
      [ ] Debtor(s) will treat income tax refunds as follows:


2.4 Additional payments.
    Check one.

      [X] None. If “
                   None”is checked, the rest of § 2.4 need not be completed or reproduced.


2.5 The total amount of estimated payments to the trustee provided for in §§ 2.1 and 2.4 is $ 9,000.00 .

Part 3:    Treatment of Secured Claims

3.1 Maintenance of payments and cure of default, if any.
     Check one.

      [X] None. If “
                   None”is checked, the rest of § 3.1 need not be completed or reproduced.

3.2 Request for valuation of security, payment of fully secured claims, and modification of undersecured claims. Check one.

      [X] None. If “
                   None”is checked, the rest of § 3.2 need not be completed or reproduced.


3.3 Secured claims excluded from 11 U.S.C. §506.
    Check one.

      [X] None. If “
                   None”is checked, the rest of § 3.3 need not be completed or reproduced.

3.4 Lien avoidance.

      Check one.

      [X] None. If “
                   None”is checked, the rest of § 3.4 need not be completed or reproduced.

3.5 Surrender of collateral.
    Check one.

      [X] None. If “
                   None”is checked, the rest of § 3.5 need not be completed or reproduced.


Part 4:    Treatment of Fees and Priority Claims

4.1 General

      Trustee’s fees and all allowed priority claims, including domestic support obligations other than those treated in § 4.5, will be paid in full without
      postpetition interest.

4.2   Trustee’
             s fees

      Trustee’s fees are governed by statute and may change during the course of the case but are estimated to be 5.00% of plan payments; and during the
      plan term, they are estimated to total $450.00.

4.3 Attorney’
            s fees

      The balance of the fees owed to the attorney for the debtor(s) is estimated to be $ 2,000.00 .

4.4   Priority claims other than attorney’
                                         s fees and those treated in § 4.5.

      Check one.

      [X] None. If “
                   None”is checked, the rest of § 4.4 need not be completed or reproduced.


4.5 Domestic support obligations assigned or owed to a governmental unit and paid less than full amount.


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     Check one.

     [X] None. If “
                  None”is checked, the rest of Part 4.5 need not be completed or reproduced.


Part 5:   Treatment of Nonpriority Unsecured Claims

5.1 Nonpriority unsecured claims not separately classified.

     Allowed nonpriority unsecured claims that are not separately classified will be paid, pro rata. If more than one option is checked, the option providing the
     largest payment will be effective. Check all that apply.

     [ ] The sum of $            .
     [X] 7.64% of the total amount of these claims. An estimated payment of $ 6,550.00
     [ ] The funds remaining after disbursements have been made to all other creditors provided for in this plan.

          If the estate of the debtor(s) were liquidated under chapter 7, nonpriority unsecured claims would be paid approximately $ 1.36. Regardless of the
          options checked above, payments on allowed nonpriority unsecured claims will be made in at least this amount.

5.2 Maintenance of payments and cure of any default on nonpriority unsecured claims. Check one.

     [X] None. If “
                  None”is checked, the rest of Part 5.2 need not be completed or reproduced.

5.3 Other separately classified nonpriority unsecured claims. Check one.

     [X] None. If “
                  None”is checked, the rest of § 5.3 need not be completed or reproduced.


Part 6:   Executory Contracts and Unexpired Leases

6.1 The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other executory contracts and
    unexpired leases are rejected. Check one.

     [X] None. If “
                  None”is checked, the rest of § 6.1 need not be completed or reproduced.


Part 7:   Vesting of Property of the Estate

7.1 Property of the estate will vest in the debtor(s) upon

     Check the applicable box:

     [X] plan confirmation
     [ ] entry of discharge.
     [ ] other:

Part 8:   Nonstandard Plan Provisions

8.1 Check “None”or List Nonstandard Plan Provisions

     [ ] None. If “
                  None”is checked, the rest of Part 8 need not be completed or reproduced.

Under Bankruptcy Rule 3015(c), nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included in the Official
Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are ineffective.

The following plan provisions will be effective only if there is a check in the box “Included”in Part 1.3.

     Debtor will directly pay his auto payments.


Part 9:   Signature(s):

9.1 Signatures of Debtor(s) and Debtor(s)’Attorney

If the Debtor(s) do not have an attorney, the Debtor(s) must sign below; otherwise the Debtor(s) signatures are optional. The attorney for the Debtor(s), if any,



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must sign below.



/s/ Harold Leroy Cunningham Jr
Signature of Debtor 1                                                        Signature of Debtor 2

Executed on August 16, 2018                                                  Executed on August 16, 2018

/s/ Nick C. Thompson                                                         Date: August 16, 2018
Signature of Attorney for Debtor(s)


By filing this document, the Debtor(s), if not represented by an attorney, or the Attorney for Debtor(s) also certify(ies) that the wording and order
of the provisions in this Chapter 13 plan are identical to those contained in Official Form 113, other than any nonstandard provisions included in
Part 8.




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Exhibit: Total Amount of Estimated Trustee Payments
     The following are the estimated payments that the plan requires the trustee to disburse. If there is any difference between the
     amounts set out below and the actual plan terms, the plan terms control.

a. Maintenance and cure payments on secured claims (Part 3, Section 3.1 total)                               $ 0.00

b. Modified secured claims (Part 3, Section 3.2 total)                                                       $ 0.00

c. Secured claims excluded from 11 U.S.C. § 506 (Part 3, Section 3.3 total)                                  $ 0.00

d. Judicial liens or security interests partially avoided (Part 3, Section 3.4 total)                        $ 0.00

e. Fees and priority claims (Part 4 total)                                                                   $ 2,000.00

f. Nonpriority unsecured claims (Part 5, Section 5.1, highest stated amount)                                 $ 6,550.00

g. Maintenance and cure payments on unsecured claims (Part 5, Section 5.2 total)                             $ 0.00

h. Separately classified unsecured claims (Part 5, Section 5.3 total)                                        $ 0.00

i. Trustee payments on executory contracts and unexpired leases (Part 6, Section 6.1 total)                  $ 0.00

j. Nonstandard payments (Part 8, total)                                                                  +   $ 0.00


     Total of lines a through j                                                                              $ 9,000.00




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